                     Case 8-20-08049-ast     Doc 90       Filed 03/05/24    Entered 03/05/24 22:04:54




                                       Jeffrey P. Nolan                March 5, 2024                    310.772.2313
                                                                                                  jnolan@pszjlaw.com




L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
                                           The Honorable Alan S. Trust
N E W Y O R K, N Y                         Chief Judge
                                           United States Bankruptcy Court
10100 SANTA MONICA BLVD.                   Eastern District of New York
13th FLOOR
LOS ANGELES
                                           Alfonse M. D’Amato Federal Courthouse
CALIFORNIA 90067                           290 Federal Plaza
TELEPHONE: 310/277 6910
                                           Central Islip, New York 11722
FACSIMILE: 310/201 0760
                                                   Re:    In re Orion HealthCorp, Inc., et al.
SAN FRANCISCO
                                                          Howard M. Ehrenberg v. Arvind Walia;
150 CALIFORNIA STREET                                     Niknim Management Inc.
15th FLOOR                                                USBC EDNY Adv. Proc. No. 20-08049-ast
SAN FRANCISCO
CALIFORNIA 94111-4500
                                       Dear Judge Trust:
TELEPHONE: 415/263 7000

FACSIMILE: 415/263 7010
                                              We are counsel for Howard M. Ehrenberg in his capacity as
                                       Liquidating Trustee of Orion Healthcorp, Inc., et al. (the “Liquidating
DELAWARE
919 NORTH MARKET STREET
                                       Trustee”) in the above referenced adversary proceeding.
17th FLOOR
P.O. BOX 8705                                  Per the Court’s instruction, I write to confirm that the Court has
WILMINGTON                             continued the Pretrial Conference from March 6, 2024 to March 14,
DELAWARE 19899-8705
                                       2024, at 2:00 pm EST, before the Honorable Alan S. Trust, United
TELEPHONE: 302/652 4100
                                       States Bankruptcy Judge, Brooklyn courthouse, 271-C Cadman
FACSIMILE: 302/652 4400
                                       Plaza, E Brooklyn, NY 11201. Appearances can be made in person
NEW YORK                               or via the Zoom platform.
780 THIRD AVENUE
34th FLOOR                                    I also write to confirm that the Court will take oral argument on
NEW YORK
                                       the submitted motions for summary judgment.
NEW YORK 10017-2024

TELEPHONE: 212/561 7700
                                                                         Very truly yours,
FACSIMILE: 212/561 7777


                                                                         /s/ Jeffrey P. Nolan
TEXAS
440 LOUISIANA STREET                                                     Jeffrey P. Nolan
SUITE 900
HOUSTON
                                        cc: Sanford P. Rosen, Esq. (Via ECF and electronic mail)
TEXAS 77002
                                            (Counsel for Defendants)
TELEPHONE: 713/691 9385

FACSIMILE: 713/691 9407




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